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                 EXHIBIT 3
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January 19, 2022




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       Re:                   Fried, Ian
       DOB:                  November 19, 1965 (56 years old)



Attorneys Citronberg and Johnson,

At your request, I write to provide a brief summary of my opinion regarding your client, Ian
Fried. As you know, Mr. Fried has pending charges related to possessing child sexual
exploitation material. He is currently housed in the Central Virginia Regional Jail.

I met with Mr. Fried for about 2 and one-half hours at the jail on January 10, 2022. He was
groomed and appeared clean. He participated in an initial clinical interview, and I collected
information relevant to assessing his risk using the Child Pornography Offender Risk Tool
(CPORT), which is typically administered in tandem with the Correlates of Admission of Sexual
Interest in Children (CASIC) measure, to assess the risk of reoffense in individuals who have
charges related to illegal child sexual exploitation material.

Generally speaking, the CASIC and CPORT are used to gauge longer-term risk rather than
imminent risk. I considered information relevant to the Mr. Fried’s shorter-term risk, if he was to
be released to the community, under supervision, to permit his participation in treatment for

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men with sexual behavior problems. More imminent risk tends to be associated with (a) having
unrestricted and unsupervised (or insufficiently supervised) access to minor children within the
person’s preferred age range, (b) behavioral dyscontrol1 factors such as severe mood problems,
aggressive outbursts, and severe impulsivity, (c) a history of significant or at least repeated
criminal conduct—especially aggressive and violent criminal history—even if this other conduct
was not sexual in nature, and (d) young age (usually conceptualized as under 35 years of age but
risk is highest for males in their late teens and early 20s). More general (nonsexual) violence risk
considerations would include having made threats to harm someone, holding a grudge against
a person or group of people, attempts to escape the facility, being found with contraband
weapons in the facility, a characterological tendency toward angry hostility, a tendency to
ruminate about and nurse perceived slights, and lifestyle (e.g, housing, employment, social
support) instability.

This is Mr. Fried’s first significant criminal charge, so far as I am aware. His charges relate to child
sexual exploitation material, without allegations of contact offending based on the information I
have reviewed. He does not have a history of violating community supervision requirements,
because he has not been on supervision before.

In my opinion, Mr. Fried is suitable for community release to pursue treatment under specific
conditions, and the jail is not able to provide appropriate treatment to him either live or via
telehealth. I have attempted to conduct telehealth meetings in recent months at the Central
Virginia Regional Jail without success. Mr. Fried has outstanding treatment needs that do not
confer imminent risk of harming another person, but which do need to be addressed as soon as
possible. His release would also facilitate my evaluation of Mr. Fried, which has begun but has
additional components such as psychological testing.

If Mr. Fried were to be released to the community under pretrial supervision, he would need the
following (from a risk management and treatment perspective):

1. No unsupervised contact with minor children. Supervising adults should be approved by Mr.
   Fried’s supervising officer, and in order to be approved, the supervising adults will need to
   demonstrate their appreciation of the seriousness of the alleged conduct, as well as the need
   for them to honestly and assertively supervise their family member. Prospective supervising
   adults who minimize the harm of this type off alleged conduct (i.e., possessing child sexual
   exploitation material) should be counseled about the seriousness of the harm, and not


1 Substance use can also decrease behavioral controls via disinhibition, impaired judgment, and increased impulsivity, and so

substance use should be strongly discouraged in people with suspected or known sexual behavior problems.
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  permitted to serve as supervisors of Mr. Fried until the supervising officer is satisfied that they
  have remediated the gaps in their understanding and appreciation of their responsibilities.

2. Highly restricted and supervised internet use. I strongly recommend against permitting access
   to a smartphone. Using computers and tablets should be limited to necessary tasks and not
   permitted for leisure activities. His devices should be monitored by supervising personnel.
   This is a commonsense set of provisions given his charges.

3. No activities that permit, encourage, or facilitate communications with minors, such as
   attendance at religious events that include children, academic activities aimed at promoting
   youth engagement, community sporting events for youth, etc.

4. Participation, as soon as it can be arranged, in psychotherapy with a provider who specializes
   in and is credentialed to treat individuals with sexual behavior problems. In Virginia, the
   typical credential for such a provider would be the Certified Sex Offender Treatment Provider
   (CSOTP). I can provide recommendations for potential treatment providers if needed. In my
   view, he would benefit from working with a provider who has experience working with
   individuals accused of internet-facilitated offenses.

Please contact me if you have further questions or concerns.



                                          Respectfully submitted,




                                          Sara E. Boyd, Ph.D., ABPP
                                          Licensed Clinical Psychologist
                                          Board Certified Forensic Psychologist
                                          American Board of Professional Psychology
